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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                      :       Crim. No. 2:18-CR-101
                                              :
vs.                                           :
                                              :
SAMANTHA HOLLIS                               :
                                              :




                                              ORDER

       AND NOW, on the date of March ________, 2022, upon consideration of the defendant’s

Motion to Travel Outside of the Eastern District of Pennsylvania, it is hereby ORDERED that

said Motion is GRANTED.         Accordingly, Samantha Hollis is permitted to travel between the

Eastern District of Pennsylvania and the Dominican Republic from March 9, 2022 until March

13, 2022. The defendant is to provide her travel itinerary to pretrial services. Pretrial services

SHALL return the defendant’s passport to her to facilitate her travel. Samantha Hollis is to

return her passport to pretrial services within 72 hours upon her return to the jurisdiction.



                                                      BY THE COURT:


                                                      _______________________________
                                                      HONORABLE GENE E.K. PRATTER
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                     :       Crim. No. 2:18-CR-101
                                             :
vs.                                          :
                                             :
SAMANTHA HOLLIS                              :
                                             :



                   DEFENDANT’S MOTION TO MODIFY TO TRAVEL


TO THE HONORABLE GENE E.K. PRATTER, JUDGE, UNITED STATES EASTERN
DISTRICT OF PENNSYLVANIA, PHILADELPHIA:

       COMES NOW the defendant, Samantha Hollis, through her attorney Lawrence J.
Bozzelli, Esquire, and pursuant to the Federal Bail Reform Act and Rule 18 U.S.C. §3142, to
respectfully request that this Honorable Court enter an Order modifying the condition of pre-trial
release so that Hollis may travel outside of the Eastern District of Pennsylvania and averts the
following:


1)    On January 18, 2019, Ms. Samantha Hollis appeared before the Hon. Timothy Rice and
      conditions of pretrial release were set. These conditions included limiting her travel
      outside of the Eastern District of Pennsylvania.
2)    Samantha Hollis is now requesting permission to travel to the Dominican Republic for
      several days starting on March 9, 2022 and returning on March 13, 2022.
3)    In July of 2021, Hollis made a similar request to travel to the Dominican Republic. In that
      motion, Hollis stated that her client has offered to take her on a business trip concerning a
      project they are working on in the Dominican Republic. The business is not related to the
      medical field. The client is “The EZ Way Transportation Service LLC”, Tharron Shehee
      Fleet Owner. The address of the hotel/condo is the Eden Condo, Punta Cana, La Altagracia
      Province, Dominican Republic
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4)   The facts of her pending trip in March are the same as the trip which she took in July.
5)   The defendant complied with all the terms and conditions when she traveled in July of
     2021. This demonstrates that she can be trusted to comply with the terms of the travel that
     she is requesting to participate this March.
6)   The defendant has been on pretrial release for over 2 ½ years with no violations.


WHEREFORE, it is respectfully requested that this Honorable Court enter an Order granting the
Motion to Modify The Condition Of Pre-Trial Release such that Samantha Hollis can travel
outside of the Eastern District of Pennsylvania as requested.



                                                     Respectfully submitted,




                                                     LAWRENCE J. BOZZELLI
                                                     Attorney for Samantha Hollis
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                                CERTIFICATE OF SERVICE



       I, Lawrence J. Bozzelli, attorney for Ms. Hollis, hereby certify that I have served copies

of the Defendant’s Motion to Modify The Condition Of Pre-Trial Release To Travel Outside Of

The Jurisdiction via PACER/e-mail to (1) Jason Bologna, Assistant United States Attorney, and

(2) the Honorable Gene E.K. Pratter on the below listed date.




                                                    LAWRENCE J. BOZZELLI
                                                    Attorney for Samantha Hollis



DATE: March 2, 2022
